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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN



EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

                    Plaintiff,                Civil Action No.:
                                                     Honorable:
v.


                                                     COMPLAINT AND JURY

                                                     TRIAL DEMAND

GEORGINA’S LLC, dba
GEORGINA’S TAQUERIA,



                    Defendant.
                                                         /

                                 NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964, and Title I of

the Civil Rights Act of 1991, to correct unlawful employment practices on the basis

of sex (female) and retaliation, and to provide appropriate relief to Jessica Werthen

(“Werthen”) and other similarly aggrieved female employees who were affected by

such unlawful practices. As alleged with greater particularity in paragraph 12 below,

the EEOC alleges that Defendant, Georgina’s Taqueria (“Defendant”), has engaged

in sex discrimination against female employees by subjecting them to severe or


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pervasive sexual harassment and by creating and maintaining a hostile work

environment because of their sex in violation of Title VII. As alleged with greater

particularity in paragraph 13 below, the EEOC further alleges that Defendant violated

Title VII by taking adverse action against Werthen and subsequently terminating her

employment in retaliation for complaining about harassment and the hostile

environment.

                          JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,

1337, 1343, and 1345. This action is authorized and instituted pursuant to Sections

706(f)(1) of Title VII of the Civil Rights Act of 1964 as amended (“Title VII”), 42

U.S.C. § 2000e-5(f)(1) and (3), and 2000e-6, and Section 102 of the Civil Rights Act

of 1991, 42 U.S.C. §1981a.

      2.     The alleged unlawful employment practices were committed within the

jurisdiction of the United States District Court for the Western District of Michigan.

                                      PARTIES

      3.     Plaintiff Equal Employment Opportunity Commission (“the

Commission”) is an agency of the United States of America charged with the

administration, interpretation and enforcement of Title VII and is authorized to bring

this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. §§2000e-5(f)(1) and

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(3).

         4.    At all times, Defendant has continuously been a company under the

laws of the State of Michigan, doing business in the city of Traverse City, Michigan,

and has continuously had at least 15 employees.

         5.    At all relevant times, Defendant has continuously been an employer

engaged in an industry affecting commerce within the meaning of Sections 701(b),

(g), and (h) of Title VII, 42 U.S.C. §§2000e-(b), (g), and (h).

                        ADMINISTRATIVE PROCEDURES

         6.    More than 30 days prior to the institution of this lawsuit Werthen filed a

charge of discrimination with the Commission alleging violations of Title VII by

Defendant.

         7.    On April 11, 2018, the Commission issued to Defendant a Letter of

Determination regarding Werthen’s charge, found reasonable cause that Title VII

was violated, and invited Defendant to join with the Commission in informal

methods of conciliation to endeavor to eliminate the unlawful employment practices

and provide appropriate relief.

         8.    The Commission engaged in communications with Defendant to

provide Defendant with the opportunity to remedy the discriminatory practices

described in the Letter of Determination.

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       9.    The Commission was unable to secure from Defendant a conciliation

agreement acceptable to the Commission with respect to Werthen’s charge of

discrimination.

       10.   On June 1, 2018, the Commission issued a Notice of Failure of

Conciliation to Defendant.

       11.   All conditions precedent to the institution of this lawsuit have been

fulfilled.

                             STATEMENT OF CLAIMS

                               COUNT I – TITLE VII

       12.   Since at least November 2014, Defendant has engaged in unlawful

employment practices, in violation of Section 703(a)(1) and Section 704 of Title VII,

42 U.S.C. §§2000e-2; 2000e-3(a). These unlawful employment practices include,

but are not limited to the following:

             a.     Defendant has engaged in sex discrimination against Werthen

and other female employees at its Traverse City, Michigan, restaurant by subjecting

them to severe or pervasive sexual harassment and by creating or maintaining a

hostile work environment because of their sex;

             b.     At all relevant times, Gregory Anthony Craig (“Craig”) has been

Defendant’s sole owner and head chef;

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             c.        Since at least November of 2014, Craig has routinely made

sexual comments to Werthen. Such comments from Craig include but are not limited

to telling Werthen that he thought about having sex with her “while jacking off a

million times,” telling her that he thought about her in the shower, telling her that

she “looked like a professional woman,” referring to her as “baby,” telling her, “I

love your mouth” while openly and blatantly staring at her, telling her, “I’d like to

lick your butt,” and asking her if she wanted him to “suck on your bottom lip.” Craig

also told Werthen (who is above average in height) that she was his “only chance to

have tall children.”

             d.        While working in the kitchen with Werthen, Craig would loudly

and with coarse language identify female guests he would like to have sex with.

             e.        Werthen made clear to Craig that these comments were

unwelcome, but he persisted.

             f.        Craig routinely made inappropriate sexual comments to other

female employees. These include, but are not limited to telling them repeatedly that

he wanted to have sex with them, talking about their physical features and which

ones he found desirable, and ordering them to approach restaurant guests he found

sexually desirable and obtain their phone numbers for him.

             g.        Craig had inappropriate physical contact with female employees.

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This includes touching them on the buttocks, legs, hips, chest, and/or crotch areas,

forcing them to sit on his lap, and kissing and/or hugging them without consent.

      13.    When Werthen complained about Craig’s conduct either to Craig, other

managers, or other employees, Defendant unlawfully retaliated against her by

subjecting her to different conditions of employment and subsequently terminating

her employment. This unlawful retaliation included, but was not limited to, the

following:

             a.     Werthen verbally complained about Craig’s sexual commentary

to Craig and another manager in early January 2016. Immediately following this

verbal complaint, Craig began treating Werthen differently and less favorably.

Specifically, he stripped her of authority in the kitchen, gave her less favorable

shifts, cut her hours, and was openly hostile and verbally abusive towards her;

             b.     On February 7, 2016, Werthen submitted a written complaint of

sexual harassment by Craig to another member of management. Within ten minutes

of Werthen submitting the complaint, Craig received it and immediately terminated

Werthen.

      14.    The effect of the practices complained of above has been to deprive

Werthen and other female employees of equal employment opportunities and

otherwise adversely effects their status as employees because of their sex.

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      15.      The unlawful employment practices complained of above were and are

intentional.

      16.      The unlawful employment practices complained of above were and are

done with reckless indifference to the federally protected rights of Werthen and

other female employees.

                               PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:

      A.       GRANT a permanent injunction enjoining Defendant Employer, its

officers, successors, assigns, and all persons in active concert or participation with it,

from maintaining a sexually hostile work environment and/or retaliating against

employees based on their opposition to any employment practice made unlawful

under Title VII;

      B.       ORDER Defendant Employer to institute and carry out policies,

practices, and programs which provide equal employment opportunities for female

employees and which eradicate the effects of its past and present unlawful

employment practices;

      C.       ORDER Defendant Employer to make whole Werthen and other

similarly situated women by providing appropriate backpay with prejudgment

interest, in amounts to be determined at trial, and other affirmative relief necessary

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to eradicate the effects of its unlawful employment practices;

      D.     ORDER Defendant Employer to make whole Werthen and other

similarly situated women by providing compensation for past and future pecuniary

losses resulting from the unlawful practices described in paragraphs 12 and 13,

above, in amounts to be determined at trial;

      E.     ORDER Defendant Employer to make whole Werthen and other

similarly situated women by providing compensation for past and future non-

pecuniary losses resulting from the unlawful practices described in paragraphs 12

and 13, above, including but not limited to emotional pain, suffering, inconvenience,

loss of enjoyment of life, and humiliation, in amounts to be determined at trial;

      F.     ORDER Defendant Employer to pay Werthen and other similarly

situated women punitive damages for its malicious and reckless conduct described in

paragraphs 12 and 13 above, in amounts to be proven at trial;

      G.     GRANT the Commission any and all appropriate relief under the Fair

Debt Collection Procedures Act, including but not limited to appropriate

prejudgment relief such as attachment, receivership, garnishment, sequestration or

voidance of fraudulent transfers.

      G.     GRANT such further relief as the Court deems necessary and proper in

the public interest.

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     H.      AWARD the Commission its costs of this action.

                            JURY TRIAL DEMAND

     The Commission requests a jury trial on all questions of fact raised by its

Complaint.




                                            Respectfully submitted,



                                                /s/ Kenneth Bird                   ____
                                            KENNETH BIRD
                                            Regional Attorney



                                            ____/s/_Omar Weaver__________________
                                            OMAR WEAVER (P58861)
                                            Supervising Trial Attorney



                                                 /s/ Miles L. Uhlar
                                            MILES L. UHLAR (P65008)
                                            Trial Attorney


                                            EQUAL EMPLOYMENT OPPORTUNITY
                                            COMMISSION

                                            DETROIT FIELD OFFICE
                                            Patrick V. McNamara
                                            477 Michigan Avenue, Room 865
                                            Detroit, Michigan 48226
                                            Tel. No. (313) 226-3410
     June 14, 2018


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